Case 9:24-cr-80116-AMC Document 73 Entered on FLSD Docket 11/21/2024 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 24-80116-CR-CANNON/McCabe



  UNITED STATES OF AMERICA

  vs.

  RYAN WESLEY ROUTH,

              Defendant.
  ___________________________________/

                          GOVERNMENT=S THIRD RESPONSE TO
                           THE STANDING DISCOVERY ORDER

         The United States files this Third Response to the Court’s Paperless Standing Discovery

  Order ([ECF No. 28]). This response outlines the discovery materials the United States has

  produced to defense counsel and complies with the Court’s Order Granting In Part the United

  States’ Initial Motion for Protective Order ([ECF No. 69]). On November 22, 2024, the United

  States will mail the discovery materials to defense counsel of record, which materials were

  uploaded onto two portable drives. Those materials include the items described in the attached

  indices and are numbered Gov005954-7523

         Please contact the undersigned Assistant United States Attorney if any pages are missing.


                                                Respectfully submitted,

                                                MARKENZY LAPOINTE
                                                UNITED STATES ATTORNEY

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Case 9:24-cr-80116-AMC Document 73 Entered on FLSD Docket 11/21/2024 Page 2 of 2




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk

  of the Court using CM/ECF on November 21, 2024.

                                                     /s/Maria K. Medetis
                                                     Assistant United States Attorney



  cc:   Special Agent Christian Hull,
        FBI




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